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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Erika López Prater,                             Case No. 23-cv-00505 (KMM-DJF)

              Plaintiff,

 v.                                                         ORDER

 Trustees of the Hamline University of
 Minnesota,

              Defendant.


      The above-captioned matter came before United States Judge Katherine M.

Menendez on ___________________, pursuant to Plaintiff’s Motion to remand.

      David H. Redden of Fabian May & Anderson, PLLP appeared on behalf of Plaintiff

Erika López Prater.

      Mark T. Berhow of Hinshaw & Culbertson LLP appeared on behalf of Defendant

Trustees of the Hamline University of Minnesota.

                                         ORDER

      Based on the memoranda submitted and the files, records, and proceedings herein,

IT IS HEREBY ORDERED that:

      1.     Plaintiff’s Motion to Remand is GRANTED.

      2.     Within seven (7) days, Plaintiff shall file an affidavit setting forth her
             reasonable attorney’s fees and costs incurred as a result of Defendant’s
             removal of this action.

      LET JUDGMENT BE ENTERED ACCORDINGLY.
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Dated:
                                    Katherine M. Menendez
                                    United States District Court Judge




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